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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                   OXFORD DIVISION

JAMES ALLEN HUGHEY                                                                       PLAINTIFF

V.                                                  CIVIL ACTION NO. 3:18-CV-00004-NBB-RP

TIPPAH COUNTY, MISSISSIPPI,
TOMMY MASON, in his individual capacity,
and “X” Bonding Company                                                              DEFENDANTS

                                    MEMORANDUM OPINION

        Presently before the court is Defendant Tommy Mason’s second motion for judgment on

the pleadings. Upon due consideration of the motion, response, pleadings and applicable

authority, the court is ready to rule.

                                 Factual and Procedural Background

        The instant action arises out of Plaintiff James Allen Hughey’s arrest. Hughey alleges

that on June 7, 2017, he went and knocked on the door of the home of his ex-girlfriend to visit

her step-father, Denver Crumpton. Hughey asserts that Defendant Mason, a deputy sheriff of

Tippah County, Mississippi, answered, opened the door and “began beating Hughey savagely

with his fists.” Hughey further alleges that he was unarmed and posed no danger to anyone.

Hughey also contends that he “has no substantive memory of the events after the beating.”

        Following the alleged beating, Hughey was arrested by a different deputy, on charges not

identified in the pleadings. According to Hughey, he recently learned that he was indicted for

the felony offense of burglary. Hughey asserts that the alleged beating caused him to suffer

injuries including rib fractures, transverse process fractures, and a splenic laceration, and that,

because of these injuries, he was hospitalized for several weeks at The Med in Memphis,

Tennessee.
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       On January 4, 2018, Hughey filed the instant suit. He asserts a claim under 42 U.S.C. §

1983 against Mason, alleging that his actions constituted an unreasonable or excessive use of

force in violation of the Fourth Amendment. Hughey additionally asserts state law claims for

assault and battery against Mason. Mason recently raised a defense of qualified immunity to

which Hughey responded by filing a Schultea reply. Mason now moves for judgment on the

pleadings as to Hughey’s §1983 claim.

                                            Standard of Review

       Pursuant to Rule 12(c), “[a]fter the pleadings are closed—but early enough not to delay

trial—a party may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c). In considering a

12(c) motion, courts employ the same standard as that of deciding a motion to dismiss under rule

12(b)(6). Great Plains Trust Co. v. Morgan Stanley Dean Witter & Co., 313 F.2d 305, 313 (5th

Cir. 2002). Accordingly, “[t]he central issue is whether, in the light most favorable to the

plaintiff, the complaint states a valid claim for relief.” Hughes v. Tobacco Institute, Inc., 278

F.3d 417, 420 (5th Cir. 2001). Pleadings, therefore, are to be construed liberally, and “judgment

on the pleadings is appropriate only if there are no disputed issues of fact and only questions of

law remain.” Id. (citing Voest-Alpine Trading USA Corp. v. Bank of China, 142 F.3d 887, 891

(5th Cir. 1998)).

                                                  Analysis

       In moving for judgment on the pleadings, Mason asserts that he is entitled to qualified

immunity. When qualified immunity is asserted at this stage, the court utilizes a two-prong

analysis. First, the court must determine whether the plaintiff has alleged a violation of a clearly

established constitutional right. Griggs v. Brewer, 841 F.3d 308, 312-313(5th Cir. 2016). The

court must also decide whether the defendant’s actions were “objectively unreasonable” in light



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of the law that was clearly established at the time of the incident. Id. The court may conduct this

inquiry in any order. Pearson v. Callahan, 555 U.S. 223, 236 (2009).

       To succeed on an excessive-force claim, the plaintiff must demonstrate “(1) an injury that

(2) resulted directly and only from the use of force that was excessive to the need, and that (3)

the force used was objectively unreasonable.” Brothers v. Zoss, 837 F.3d 513, 518 (5th Cir.

2016) (citing Hogan v. Cunningham, 722 F.3d 725, 734 (5th Cir. 2013)). The reasonableness of

an official’s conduct depends upon “the facts and circumstances of each particular case,

including the severity of the crime at issue, whether the suspect poses an immediate threat to the

safety of the officers or others, and whether he is actively resisting arrest or attempting to evade

arrest by flight.” Id. (citing Graham v. Connor, 490 U.S. 386, 395 (1989)).

        Mason does not dispute that the right to be free from unreasonable or excessive force is a

clearly established constitutional right. Rather, Mason simply argues that Hughey has failed to

provide specific, particular factual allegations sufficient to meet the Fifth Circuit’s heightened

pleading standard for such claims.

       Turning to the pleadings, Hughey asserts that on the evening of June 7, 2017, he went to

the home of his ex-girlfriend to visit her step-father. According to Hughey, he was unarmed and

posed no danger to anyone. Hughey alleges that he knocked on the door of the residence and

that Mason answered, opened the door and that, for unknown reasons, “Mason began beating

Hughey savagely with his fists.”

       According to Hughey, he did nothing to provoke the alleged beating. Hughey

additionally asserts that he has no substantive memory of what happened after the alleged

beating. Hughey’s alleged injuries include a splenic laceration, rib fractures and transverse

process fractures. Moreover, Hughey’s medical records demonstrate that he was hospitalized for



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more than a month following the alleged beating, and that he underwent various medical

procedures before he was deemed well enough to go home.1 Hughey also contends that he

recently learned that he has been indicted for burglary as a result of the incident.

        Accepting the allegations as true and viewing them in the light most favorable to the

plaintiff, as the court must do, the court finds that Hughey has sufficiently pleaded facts

indicating a violation of his right to be free from unreasonable or excessive force. If the court

accepts as true that Hughey’s conduct leading up to the alleged beating was limited to knocking

on a door and that Hughey was unarmed and posed no danger, it must also accept as true the

logical inference that Mason’s alleged beating of Hughey, which left Hughey hospitalized for

several weeks, constituted an intentional and unreasonable use of force.

        The court is mindful that discovery may reveal that Hughey’s version of the underlying

incident is not entirely accurate. But, at this stage, “it is the defendant’s conduct as alleged in

the [pleadings] that is scrutinized for ‘objective legal reasonableness.’” McClendon v. City of

Columbia, 305 F.3d 314, 323 (5th Cir. 2002) (citing Behrens v. Pelletier, 516 U.S. 299, 309

(1996)).

        The court is also cognizant of Hughey’s failure to plead certain factual particulars of the

incident, specifically what transpired immediately after the alleged beating. A plaintiff,

however, will not be penalized for failing to plead the factual particulars of the alleged actions

when such facts are unknown to the plaintiff or are “peculiarly within the knowledge of

defendants.” Floyd v. City of Kenner, La., 351 F. App’x 890, 893 (5th Cir. 2009) (citing

Schultea v. Wood, 47 F.3d 1427, 1432 (5th Cir. 1995)).



1
 Hughey included his medical records as an exhibit to his Schultea reply. Consequently, the court may consider them
in deciding the instant motion. See Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th Cir. 2000) (noting
that Rule 12(b)(6) permits courts to consider documents attached to the pleadings in ruling on motions to dismiss).

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       In sum, the court finds that Hughey has sufficiently alleged facts to support a claim for

excessive force and to overcome Mason’s assertion of qualified immunity. Hughey’s §1983

claim, therefore, may proceed to discovery.

                                               Conclusion

       For the foregoing reasons, the court finds that Defendant Mason’s motion for judgment

on the pleadings is not well-taken and should be denied. A separate order in accord with this

opinion shall issue this day.

               This, the 17th day of September, 2018.

                                                     /s/ Neal Biggers
                                                     NEAL B. BIGGERS, JR.
                                                     UNITED STATES DISTRICT JUDGE




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